              Case 23-00384               Doc 1          Filed 01/12/23 Entered 01/12/23 11:20:24                               Desc Main
                                                           Document     Page 1 of 22
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

      Northern
 ____________________                Illinois
                      District of _________________
                                        (State)
                                                             11
 Case number (If known): _________________________ Chapter _____                                                                       Check if this is an
                                                                                                                                         amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                                    Krishna Hotels, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                4 ___
                                              ___ 7 – ___
                                                      5 ___
                                                          0 ___
                                                             2 ___
                                                                5 ___
                                                                   3 ___
                                                                      0 ___
                                                                         8
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business

                                                  433 Meadow Dr.
                                              ______________________________________________              _______________________________________________
                                              Number     Street                                           Number     Street

                                              ______________________________________________              _______________________________________________
                                                                                                          P.O. Box

                                               Schaumburg, IL 60193
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                                  Cook
                                              ______________________________________________                  1750 Fifth St.
                                                                                                          _______________________________________________
                                              County
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                                  Lincoln, IL 62656
                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 1
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                       Krishna Hotels, Inc.
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       
                                           X Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________

                                           A. Check one:
 7.   Describe debtor’s business
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           
                                           x Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above

                                           B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              ___
                                               7 ___
                                                  2 ___
                                                     1 ___
                                                        1

 8.   Under which chapter of the           Check one:
      Bankruptcy Code is the
      debtor filing?                        Chapter 7
                                            Chapter 9
                                           
                                           x Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  
                                                         x The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                          affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                         recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                          income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                            11 U.S.C. § 1116(1)(B).
      check the second sub-box.                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                               less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                               Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                               statement of operations, cash-flow statement, and federal income tax return, or if
                                                               any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                               § 1116(1)(B).

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                               for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                            Chapter 12




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor                    Krishna Hotels, Inc.
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases        x No
                                          
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases           
                                          x No
       pending or being filed by a
       business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                          
                                          x Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have        
                                          x No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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                              01/12/2023
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Debtor                    Krishna Hotels, Inc.
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                              /s/ Timothy C. Culbertson
                                            _____________________________________________            Date
                                                                                                                  01/12/2023
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                                 Timothy C. Culbertson
                                           _________________________________________________________________________________________________
                                           Printed name

                                           _________________________________________________________________________________________________
                                           Firm name
                                                P.O. Box 56020
                                           _________________________________________________________________________________________________
                                           Number     Street
                                                Chicago
                                           ____________________________________________________                IL
                                                                                                           ____________     60656
                                                                                                                        ______________________________
                                           City                                                            State        ZIP Code

                                                 847-913-5945
                                           ____________________________________
                                                                                                                tcculb@gmail.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                                  6229083 - IL
                                           ______________________________________________________ ____________
                                           Bar number                                             State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
                    Case 23-00384                            Doc 1              Filed 01/12/23 Entered 01/12/23 11:20:24                                                               Desc Main
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 Fill in this information to identify the case:

                      Krishna Hotels, Inc.
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _

                                               Northern
 United States Bankruptcy Court f or the: _______________________               IL
                                                                  District of ________
                                                                                                                 (State)
 Case number (If known):              _________________________


                                                                                                                                                                                                 Check if this is an
                                                                                                                                                                                                   amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:
                                                                                                                                                                                                   1,200,000.00
                                                                                                                                                                                                $ ________________
           Copy line 88 from Schedule A/B .....................................................................................................................................

     1b.   Total personal property:
                                                                                                                                                                                                     18,700.00
                                                                                                                                                                                                $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:
                                                                                                                                                                                                   1,218,700.00
                                                                                                                                                                                                $ ________________
           Copy line 92 from Schedule A/B .....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                   2,121,166.82
                                                                                                                                                                                                $ ________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................                                  $ ________________


     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................                                        +   $ ________________




4.   Total liabilities...................................................................................................................................................................          2,121,166.82
                                                                                                                                                                                                $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                  page 1
                Case 23-00384                   Doc 1     Filed 01/12/23 Entered 01/12/23 11:20:24                                Desc Main
                                                            Document     Page 7 of 22
  Fill in this information to identify the case:

                        Krishna Hotels, Inc.
  Debtor name __________________________________________________________________

                                             Northern
  United States Bankruptcy Court for the:_______________________                IL
                                                                 District of ________
                                                                              (State)
  Case number (If known):     _________________________                                                                                 Check if this is an
                                                                                                                                           amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                     12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

   
   x      No. Go to Part 2.
         Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of debtor’s
                                                                                                                                     interest

2. Cash on hand                                                                                                                     $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                 Type of account                 Last 4 digits of account number
             Fifth Third Bank
   3.1. _________________________________________________     checking
                                                          ______________________                 9 ____
                                                                                                ____  6 ____
                                                                                                           2 ____
                                                                                                                8                          5,000.00
                                                                                                                                    $______________________
   3.2. _________________________________________________ ______________________                ____ ____ ____ ____                 $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                       $______________________
   4.2. _____________________________________________________________________________________________________                       $______________________

5. Total of Part 1                                                                                                                        5,000.00
                                                                                                                                    $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

         No. Go to Part 3.
   
   x      Yes. Fill in the information below.
                                                                                                                                      Current value of
                                                                                                                                      debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit
            Excelon - utility
   7.1. ________________________________________________________________________________________________________                          3,000.00
                                                                                                                                     $______________________
   7.2._________________________________________________________________________________________________________                     $_______________________


  Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                                    page 1
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Debtor
                            Krishna Hotels, Inc.            Document
               _______________________________________________________   Page 8 of 22
                                                                                   Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
   8.1.___________________________________________________________________________________________________________                 $______________________
   8.2.___________________________________________________________________________________________________________                 $_______________________

9. Total of Part 2.
                                                                                                                                        3,000.00
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

    
    x No. Go to Part 4.
     Yes. Fill in the information below.
                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

    11a. 90 days old or less:     ____________________________ – ___________________________          = ........                 $______________________
                                   face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        ___________________________ – ___________________________           = ........                 $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
    
    x No. Go to Part 5.

     Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________                _____________________    $________________________
   14.2. ________________________________________________________________________________                _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                  % of ownership:
   15.1._______________________________________________________________             ________%            _____________________    $________________________
   15.2._______________________________________________________________             ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
   16.1.________________________________________________________________________________                 ______________________   $_______________________
   16.2.________________________________________________________________________________                 ______________________   $_______________________



17. Total of Part 4                                                                                                                             0.00
                                                                                                                                  $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                 page 2
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Debtor                   Krishna Hotels., Inc.              Document
                _______________________________________________________  Page 9 of 22
                                                                                   Case number (if known)_____________________________________
                Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
    
    x No. Go to Part 6.
     Yes. Fill in the information below.
     General description                            Date of the last        Net book value of    Valuation method used     Current value of
                                                    physical inventory      debtor's interest    for current value         debtor’s interest
                                                                            (Where available)
19. Raw materials
   ________________________________________         ______________                                                        $______________________
                                                    MM / DD / YYYY
                                                                           $__________________   ______________________

20. Work in progress
   ________________________________________         ______________                                                        $______________________
                                                    MM / DD / YYYY
                                                                           $__________________   ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                        $______________________
                                                    MM / DD / YYYY
                                                                           $__________________   ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                        $______________________
                                                    MM / DD / YYYY
                                                                           $__________________   ______________________


23. Total of Part 5                                                                                                       $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
         No
         Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
         Yes. Book value _______________        Valuation method____________________ Current value______________

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         No
         Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    
    x No. Go to Part 7.

     Yes. Fill in the information below.
      General description                                                   Net book value of    Valuation method used     Current value of debtor’s
                                                                            debtor's interest    for current value         interest
                                                                            (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________            $________________    ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________            $________________    ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)
   ______________________________________________________________            $________________    ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________            $________________    ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________            $________________    ____________________    $______________________


Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                         page 3
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Debtor
                        Krishna Hotels, Inc.               Document
               _______________________________________________________  Page 10 of Case
                                                                                    22 number (if known)_____________________________________
               Name




33. Total of Part 6.                                                                                                                  0.00
                                                                                                                            $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
    
    x Yes. Fill in the information below.


   General description                                                        Net book value of    Valuation method          Current value of debtor’s
                                                                              debtor's interest    used for current value    interest
            Hotel Furniture
                                                                              (Where available)

39. Office furniture
         TVs, Refrigerators, Microwaves
   ______________________________________________________________              $________________   ____________________         6,500.00
                                                                                                                            $______________________

40. Office fixtures
          Couches, Tables
   ______________________________________________________________              $________________   ____________________
                                                                                                                                  600.00
                                                                                                                            $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
         Computer System
   ______________________________________________________________              $________________   ____________________           300.00
                                                                                                                            $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
          Beds and general room furniture
   42.1___________________________________________________________             $________________    ____________________         2,000.00
                                                                                                                            $______________________
          Washer/Dryer
   42.2___________________________________________________________             $________________    ____________________           800.00
                                                                                                                            $______________________
           Linens and Towels
   42.3___________________________________________________________             $________________    ____________________           500.00
                                                                                                                            $______________________

43. Total of Part 7.
                                                                                                                                10,700.00
                                                                                                                            $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

    
    x No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

    
    x No
     Yes

Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                           page 4
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 Debtor                    Krishna Hotels, Inc.            Document
                _______________________________________________________ Page 11 of Case
                                                                                    22 number (if known)_____________________________________
                Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

    
    x No. Go to Part 9.
     Yes. Fill in the information below.

   General description                                                      Net book value of     Valuation method used    Current value of
                                                                            debtor's interest     for current value        debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                            (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________           $________________     ____________________   $______________________

   47.2___________________________________________________________           $________________     ____________________   $______________________

   47.3___________________________________________________________           $________________     ____________________   $______________________

   47.4___________________________________________________________           $________________     ____________________   $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________            $________________     ____________________   $______________________

   48.2__________________________________________________________            $________________     ____________________   $______________________

49. Aircraft and accessories

   49.1__________________________________________________________            $________________     ____________________   $______________________

   49.2__________________________________________________________            $________________     ____________________   $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________            $________________     ____________________   $______________________


51. Total of Part 8.
                                                                                                                          $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
         Yes




 Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                       page 5
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Debtor
                              Krishna Hotels, Inc.          Document
                _______________________________________________________  Page 12 of Case
                                                                                     22 number (if known)_____________________________________
                Name




Part 9:    Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
    
    x Yes. Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
            1750 Fifth St., Lincoln, IL
    55.1________________________________________               fee simple
                                                            _________________     $_______________       Owner's estimate
                                                                                                       ____________________        1,200,000.00
                                                                                                                                $_____________________

    55.2________________________________________            _________________     $_______________     ____________________     $_____________________

    55.3________________________________________            _________________     $_______________     ____________________     $_____________________

    55.4________________________________________            _________________     $_______________     ____________________     $_____________________

    55.5________________________________________            _________________     $_______________     ____________________     $_____________________

    55.6________________________________________            _________________     $_______________     ____________________     $_____________________


56. Total of Part 9.
                                                                                                                                     1,200,000.00
                                                                                                                                $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
    
    x     No
         Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
    
    x     No
         Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
    
    x No. Go to Part 11.
     Yes. Fill in the information below.
   General description                                                           Net book value of    Valuation method         Current value of
                                                                                  debtor's interest    used for current value   debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
    ______________________________________________________________                $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
    ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.
                                                                                                                                          0.00
                                                                                                                                $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                            page 6
                Case 23-00384                   Doc 1     Filed 01/12/23 Entered 01/12/23 11:20:24 Desc Main
Debtor                    Krishna Hotels, Inc.             Document
                _______________________________________________________ Page 13 of Case
                                                                                    22 number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
        No
        Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
        No
        Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
        No
        Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
    
    x     No. Go to Part 12.
         Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                      debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                     _______________     –   __________________________         =   $_____________________
    ______________________________________________________
                                                                     Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                   $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                   $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                   $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                    $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                      $_____________________
   ____________________________________________________________                                                                      $_____________________

78. Total of Part 11.
                                                                                                                                               0.00
                                                                                                                                     $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
        No
        Yes

Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                   page 7
                  Case 23-00384                       Doc 1           Filed 01/12/23 Entered 01/12/23 11:20:24 Desc Main
Debtor                         Krishna Hotels, Inc.                    Document
                  _______________________________________________________           Page 14 of Case
                                                                                                22 number (if known)_____________________________________
                  Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                               Current value of                          Current value
                                                                                                      personal property                         of real property

                                                                                                              5,000.00
                                                                                                         $_______________
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.


81. Deposits and prepayments. Copy line 9, Part 2.
                                                                                                              3,000.00
                                                                                                         $_______________


82. Accounts receivable. Copy line 12, Part 3.                                                           $_______________


83. Investments. Copy line 17, Part 4.                                                                   $_______________


84. Inventory. Copy line 23, Part 5.                                                                     $_______________


85. Farming and fishing-related assets. Copy line 33, Part 6.                                            $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                            10,700.00
                                                                                                         $_______________
     Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                            $_______________


88. Real property. Copy line 56, Part 9. . ..................................................................................... 
                                                                                                                                                  1,200,000.00
                                                                                                                                                $________________


89. Intangibles and intellectual property. Copy line 66, Part 10.                                        $_______________


90. All other assets. Copy line 78, Part 11.                                                        +    $_______________


                                                                                                            18,700.00                             1,200,000.00
91. Total. Add lines 80 through 90 for each column. ............................ 91a.                    $_______________            +   91b.
                                                                                                                                                $________________




92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................       1,218,700.00
                                                                                                                                                                    $__________________




Official Form 206A/B                                                       Schedule A/B: Assets  Real and Personal Property                                                page 8
                  Case 23-00384                     Doc 1        Filed 01/12/23 Entered 01/12/23 11:20:24                                    Desc Main
                                                                  Document     Page 15 of 22
  Fill in this information to identify the case:

                         Krishna Hotels, Inc.
  Debtor name __________________________________________________________________
                                             Northern
  United States Bankruptcy Court for the: ______________________               IL
                                                                 District of _________
                                                                                        (State)

  Case number (If known):      _________________________
                                                                                                                                                      Check if this is an
                                                                                                                                                         amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
    x Yes. Fill in all of the information below.
    
 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
2.1 Creditor’s name                                             Describe debtor’s property that is subject to a lien
       Byline Bank
     __________________________________________                    1750 Fifth St., Lincoln IL                          2,121,166.82                        1,200,000.00
                                                                ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________
       180 North LaSalle Street
     ________________________________________________________   ___________________________________________________
        Chicago, IL 60601
     ________________________________________________________   Describe the lien
                                                                                   first mortgage
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                x   No
                                                                   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                   No
    Last 4 digits of account                                    x
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    number                    9 ___
                             ___ 0 ___
                                    0 ___
                                       1
    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
    
    x No                                                           Contingent
     Yes. Specify each creditor, including this creditor,      x
                                                                   Unliquidated
             and its relative priority.                            Disputed
             ___________________________________
             ___________________________________

2.2 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     __________________________________________                 ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________
     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
             priority?                                             Disputed
            No. Specify each creditor, including this
                  creditor, and its relative priority.
                  _________________________________
                  _________________________________
            Yes. The relative priority of creditors is
                  specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                   2,121,166.82
                                                                                                                                 $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                         2
                                                                                                                                                           page 1 of ___
                 Case 23-00384                     Doc 1           Filed 01/12/23 Entered 01/12/23 11:20:24                                           Desc Main
                                                                    Document     Page 16 of 22
Debtor                    Krishna Hotels, Inc.
                 _______________________________________________________                                                 Case number (if known)_____________________________________
                 Name



Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                                     On which line in Part 1     Last 4 digits of
         Name and address
                                                                                                                                     did you enter the           account number
                                                                                                                                     related creditor?           for this entity
          Brian D. Jones
    __________________________________________________________________________________________________________________
          1 North Old State Capitol Plaza, Suite 200 P.O.Box 5131                                                                             1                   9 ___
                                                                                                                                                                     0 ___
                                                                                                                                                                        0 ___
                                                                                                                                                                           1
    ____________________________________________________________________________                                                     Line 2. __                  ___
         Springfield, IL 62705
    ____________________________________________________________________________

           Andrew H. Eres
    __________________________________________________________________________________________________________________

         55 W. Monroe, Suite 1200
    ____________________________________________________________________________                                                             1
                                                                                                                                     Line 2. __                   9 ___
                                                                                                                                                                 ___ 0 ___
                                                                                                                                                                        0 ___
                                                                                                                                                                           1
         Chicago, IL 60603
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________


Form 206D                                Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                                     2 of ___
                                                                                                                                                                    page ___    2
                   Case 23-00384                     Doc 1           Filed 01/12/23 Entered 01/12/23 11:20:24                               Desc Main
   Fill in this information to identify the case:                     Document     Page 17 of 22

   Debtor                    Krishna Hotels, Inc.
                    __________________________________________________________________
                                              Northern
   United States Bankruptcy Court for the: ______________________                IL
                                                                  District of __________
                                                                                              (State)
   Case number       ___________________________________________
    (If known)

                                                                                                                                                   Check if this is an
                                                                                                                                                     amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
    
    x    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                                                                              Unknown
                                                                          As of the petition filing date, the claim is: $______________________      Unknown
                                                                                                                                                  $_________________
       IL Dept. of Revenue
     __________________________________________________________________   Check all that apply.
        PO BOX 19035
    ___________________________________________                              Contingent
                                                                          
                                                                          x   Unliquidated
        SPRINGFIELD IL 62794-9035
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                             Sales Taxes
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number       5 ___
                ___   3 ___
                         0 ___
                             8                                            x No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
                                 8
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  3
                                                                                                                                                       page 1 of ___
               Case 23-00384
                     Krishna Hotels,Doc
                                    Inc. 1              Filed 01/12/23 Entered 01/12/23 11:20:24 Desc Main
  Debtor       _______________________________________________________
               Name                                      Document     Page 18 of Case
                                                                                  22 number (if known)_____________________________________
 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes



    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                   2 of ___
                                                                                                                                                  page __   3
               Case 23-00384
                    Krishna Hotels, Doc
                                    Inc. 1        Filed 01/12/23 Entered 01/12/23 11:20:24 Desc Main
 Debtor        _______________________________________________________
               Name                                Document     Page 19 of Case
                                                                            22 number (if known)_____________________________________
Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                       Total of claim amounts


                                                                                                              Unknown
                                                                                                       $_____________________________
5a. Total claims from Part 1                                                                 5a.




5b. Total claims from Part 2                                                                 5b.   +              0.00
                                                                                                       $_____________________________




5c. Total of Parts 1 and 2                                                                                   Unknown
                                                                                             5c.       $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                       3 of ___
                                                                                                                                page __     3
                Case 23-00384               Doc 1        Filed 01/12/23 Entered 01/12/23 11:20:24                               Desc Main
                                                          Document     Page 20 of 22
 Fill in this information to identify the case:

                          Krishna Hotels, Inc.
 Debtor name __________________________________________________________________

                                          Northern
 United States Bankruptcy Court for the:______________________ District of       IL
                                                                               _______
                                                                              (State)
 Case number (If known):    _________________________                Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
       
       x   No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


         State what the contract or       ____________________________________             _________________________________________________________
 2.1     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.3     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.4
         lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        1
                                                                                                                                              page 1 of ___
                 Case 23-00384                 Doc 1     Filed 01/12/23 Entered 01/12/23 11:20:24                                Desc Main
                                                          Document     Page 21 of 22
 Fill in this information to identify the case:

                       Krishna Hotels, Inc.
 Debtor name __________________________________________________________________

                                            Northern
 United States Bankruptcy Court for the:_______________________               IL
                                                                District of ________
                                                                                (State)
 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       x   Yes

 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1       Sanjay Patel
         _____________________        ________________________________________________________               Byline Bank
                                                                                                           _____________________             x D
                                                                                                                                                                  
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code

                                                                                                                                                                   
 2.2        Kaunish Patel                 2218 Seaver Lane                                                    Byline Bank
         _____________________        ________________________________________________________             _____________________             
                                                                                                                                             x D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G
                                          Hoffman Estates, IL 60169
                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.3
           Jigisha Bhatt
         _____________________            433 Meadow Drive
                                      ________________________________________________________                Byline Bank
                                                                                                           _____________________             
                                                                                                                                             x D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G
                                          Schaumburg, IL 60193
                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.4        Bhavin Dave                                                                                        Byline Bank
         _____________________        ________________________________________________________             _____________________             
                                                                                                                                             x D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.5
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.6
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code




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